                   Case 2:21-cv-01226-BJR Document 14 Filed 09/28/21 Page 1 of 5




 1                                               THE HONORABLE BARBARA J. ROTHSTEIN

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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7

 8
     RICHARD HALPERN on behalf of himself and all
 9   others similarly situated,                      No. 2:21-cv-01226-BJR

10                    Plaintiff,
                                                     STIPULATION AND ORDER TO
              v.                                     EXTEND TIME TO ANSWER
11                                                   COMPLAINT
     T-MOBILE USA, INC.,
12
                      Defendant.
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24    STIPULATION AND ORDER TO EXTEND                                        Perkins Coie LLP
                                                                      1201 Third Avenue, Suite 4900
      TIME TO ANSWER COMPLAINT (No. 2:21-                             Seattle, Washington 98101-3099
      cv-01226-BJR) - 1                                                     Phone: 206.359.8000
                                                                             Fax: 206.359.9000
     154047593.1
                   Case 2:21-cv-01226-BJR Document 14 Filed 09/28/21 Page 2 of 5




 1            Pursuant to Western District of Washington Local Rules 7(d)(1) and 10(g), Plaintiff

 2   Richard Halpern, and Defendant T-Mobile USA, Inc., (“the Parties”), stipulate that T-Mobile’s

 3   deadline to answer or otherwise respond to the Complaint in the above-captioned action is

 4   extended for a total of 60 days, through December 6, 2021.1

 5            Good cause exists for this extension, as there is a pending motion before the Judicial Panel

 6   on Multidistrict Litigation (“JPML”) regarding transfer and coordination or consolidation of

 7   related cases for pretrial proceedings under 28 U.S.C. § 1407. See In re T-Mobile Customer Data

 8   Sec. Breach Litig., MDL Docket No. 3019 (J.P.M.L. filed Aug. 23, 2021) (ECF No. 1). The

 9   plaintiffs in a related case, Daruwalla v. T-Mobile USA, Inc., No. 2:21-cv-1118 (W.D. Wash. filed

10   Aug. 19, 2021), filed the transfer motion and identified this case, and numerous others, as related

11   cases that should be transferred. In re T-Mobile., MDL Docket No. 3019 (ECF Nos. 1, 2, 8-1, 11,

12   20, 48, 62). The additional 60 days will conserve judicial resources by allowing T-Mobile to assess

13   the pending JPML motion and continue discussions with Plaintiff’s counsel here and counsel in

14   the related cases before responding to Plaintiff’s Complaint.

15                                                  Dated: September 27, 2021

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                                                    Lauren J. Tsuji, WSBA No. 55839
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     1
      Sixty days from T-Mobile’s current response deadline is Saturday, December 4, 2021. See ECF
22   No. 5 (service of process dated September 14, 2021); Fed. R. Civ. P. 12(a). So T-Mobile’s new
     deadline would “run until the end of the next day that is not a Saturday, Sunday, or legal holiday.”
23   Fed. R. Civ. P. 6(a)(1)(C).
24       STIPULATION AND ORDER TO EXTEND                                                 Perkins Coie LLP
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                   Case 2:21-cv-01226-BJR Document 14 Filed 09/28/21 Page 3 of 5




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 1                                            ORDER
     IT IS SO ORDERED.
 2

 3
     Dated this 28th day of September 2021.
 4
                                                           s/Barbara J. Rothstein
 5
                                                           Barbara J. Rothstein
 6                                                         U.S. District Court Judge

 7
     Presented by:
 8   /s/ Steve Y. Koh
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 9   Kathleen M. O’Sullivan, WSBA No. 27850
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